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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


SKY KING SATELLITE, INC.,         )
                                  )
     Plaintiff,                   )
                                  )         CIVIL ACTION NO.
     v.                           )          2:23cv175-MHT
                                  )
ELITE TECHNICIAN                  )
MANAGEMENT GROUP, LLC,            )
                                  )
     Defendants.                  )

                                ORDER

    It is ORDERED that the uniform scheduling order

(Doc. 13) is modified to the extent that Section 3,

“The Parties’ Settlement Conference,” is replaced with

the following language:

    SECTION 3:     Mediation.    Middle District of
    Alabama   Local   Rule    16.1   concerning  the
    voluntary nature of the court’s mediation
    program is hereby suspended and the following
    mandatory   mediation   obligation    is  to  be
    followed.    All other aspects of L.R. 16.1
    continue to apply.     No later than March 6,
    2024, all remaining parties shall mediate this
    case, with either a private mediator mutually
    agreeable to the parties (and at a cost to be
    borne by the parties as they agree) or a
    magistrate judge free of charge.          If the
    parties choose to mediate by magistrate judge,
    they shall provide the magistrate judge with
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three agreed-upon dates for mediation.      Not
more than FIVE BUSINESS DAYS after mediation,
counsel shall jointly file a document titled
“Notice Concerning Mediation.”    This document
shall   indicate   whether  settlement   or   a
resolution was reached short of a trial.

DONE, this the 18th day of January, 2024.

                                /s/ Myron H. Thompson
                             UNITED STATES DISTRICT JUDGE




                               2
